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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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  11   AHADI ABU-AL MUHAMMAD, (aka                   Case No.: 2:13-CV-00208-AB (PLA)
       ONOFRE T. SERRANO),
  12                                                 Honorable Andre Birotte, Jr.
                          Plaintiff(s),              Courtroom 7B
  13
             vs.                                     [PROPOSED] JUDGMENT ON
  14                                                 SPECIAL VERDICT
       CITY OF LONG BEACH, ERIK D.
  15   HERZOG, TIMOTHY L. EVERTS,
       ABEL MORALES, SCOTT D. LASCH,
  16   TOBY R. BENSKIN, AND DOES 1
       through 10, inclusively,
  17                                                 Complaint Filed: August 28, 2014
                          Defendant(s).              Trial Date:      June 4, 2024
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  19         This action came on regularly for trial on June 4, 2024, in Courtroom 7B of
  20   the United States District Court located at 350 West First Street, Los Angeles, CA
  21   90012, Honorable Andre Birotte, Jr., presiding. Plaintiff, ONOFRE T. SERRANO,
  22   was represented by Stephen Yagman, Esq., of Yagman + Reichmann, LLP.
  23   Defendants, ERIK D. HERZOG, TIMOTHY L. EVERTS and ABEL MORALES
  24   were represented by Matthew M. Peters, Deputy City Attorney for the City of Long
  25   Beach. Based upon the jury’s Special Verdict,
  26         IT IS ADJUDGED, ORDERED, AND DECREED that Plaintiff ONOFRE
  27   T. SERRANO shall not recover any damages from Defendants ERIK D. HERZOG,
  28   TIMOTHY L. EVERTS and ABEL MORALES.

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   1         JUDGMENT is entered in favor of Defendants ERIK D. HERZOG,
   2   TIMOTHY L. EVERTS and ABEL MORALES and against Plaintiff ONOFRE T.
   3   SERRANO.
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   5         IT IS SO ORDERED.
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   7   Dated: June 26, 2024              __________ ____________
   8                                     Honorable André Birotte Jr.
                                         Judge of the United States District Court
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